                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:11-cr-3


UNITED STATES OF AMERICA,                           )
                                                    )
       Plaintiff,                                   )
                                                    )                 ORDER
                       vs.                          )
                                                    )
ALBELARDO SALAZAR-AGUIRRE (1),                      )
CESAR VARGAS-TORRES (2),                            )
GERMAN ALEXANDER MENDOZA (4),                       )
VICTOR DANIEL PINEDA-COTO (5),                      )
JOSE ODIL CRUZ-GARCIA (6),                          )
ASUNCION CAMPOS-MENDOZA (7),                        )
ALONZO ROMERO (9),                                  )
CINDY CARRILLO (11),                                )
MELODY MEJIA (12),                                  )
GARY MONTCASTLE (13),                               )
LOUIS JAVIER AMARO (14),                            )
                                                    )
       Defendants.                                  )
                                                    )


       THIS MATTER is before the Court on its own motion and the motion of ALBELARDO

SALAZAR-AGUIRRE (Doc. No. 163), GERMAN ALEXANDER MENDOZA (Doc. No. 167),

MELODY MEJIA (Doc. No. 164), GARY MONTCASTLE (Doc. No. 161), and LOUISE

JAVIER AMARO (Doc. No. 166) to continue this matter from the October 3, 2011 trial term in

the Charlotte Division.

       The Court finds, for the reasons stated in the defendant’s motion, that he has stated

sufficient cause for a continuance in this matter. The Court further finds that the ends of justice

served by taking such action outweigh the interests of the public and the defendant to a speedy

trial as set forth in 18 U.S.C. § 3161(h)(8)(A).




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        The Court further finds that the other defendants’ cases are “joined for trial with a co-

defendant as to whom the time for trial has not run and no motion for severance has been

granted,” 18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a

miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends of

justice served by taking such action outweigh the best interest of the public and the defendants to

a speedy trial.

        IT IS, THEREFORE, ORDERED, that this case as to all defendants who are pending

for trial is hereby continued to the December 5, 2011 trial term of Court in the Charlotte

Division.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation office.


                                                  Signed: September 28, 2011




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